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          13       DYNAMIC LEDGER SOLUTIONS, INC.,
                    a Delaware Corporation
          14
                                                   UNITED STATES DISTRICT COURT
          15
                                                  NORTHERN DISTRICT OF CALIFORNIA
          16
                                                      SAN FRANCISCO DIVISION
          17

          18       ANDREW BAKER, individually and on              Case No.
                   behalf of all others similarly situated,
          19                                                      NOTICE OF REMOVAL OF STATE
                                     Plaintiff,                   COURT CIVIL ACTION
          20
                          v.                                      SAN FRANCISCO COUNTY SUPERIOR
          21                                                      COURT CASE NO. CGC-17-562144
                   DYNAMIC LEDGER SOLUTIONS, INC., a
          22       Delaware Corporation, THE TEZOS
                   FOUNDATION, a Swiss foundation,
          23       KATHLEEN BREITMAN, an individual,
                   ARTHUR BREITMAN, an individual,
          24       JOHANN GEVERS, an individual,
                   STRANGE BREW STRATEGIES, LLC, a
          25       California limited liability company, and
                   DOES 1 through 100 inclusive,
          26
                                     Defendant.
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                                                                                         NOTICE OF REMOVAL
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            1      TO THE CLERK OF THE DISTRICT COURT FOR THE NORTHERN DISTRICT OF

            2      CALIFORNIA:

            3             PLEASE TAKE NOTICE that Defendant Dynamic Ledger Solutions, Inc., (“the Removing

            4      Defendant”) by and through the undersigned counsel, hereby removes the above-captioned action, and

            5      all claims and causes of action therein, from the Superior Court of the State of California, County of

            6      San Francisco, to the United States District Court for the Northern District of California, pursuant to

            7      28 U.S.C. §§ 1331, 1367, 1441, 1446 and 15 U.S.C. § 77v(a). The Removing Defendant appears for

            8      the purposes of removal only, reserves all defenses and rights available, and in support thereof states

            9      as follows:

          10              1.      On or about October 25, 2017, Plaintiff Andrew Baker (“Plaintiff”), individually and

          11       on behalf of all others similarly situated commenced a civil action (the “Baker Action”) by filing a

          12       complaint (the “Baker Complaint”) in the San Francisco Superior Court of California (Case No. CGC-

          13       17-562144). The Removing Defendant has accepted service of a summons and the Baker Complaint,

          14       and files this Notice of Removal (the “Notice”) within 30 days of receipt as set forth in 28 U.S.C. §

          15       1446(b).

          16              2.      To the best of the undersigned counsel’s knowledge, Named Defendants Arthur

          17       Breitman and Kathleen Breitman (the “Breitmans”), the Tezos Foundation, Johann Gevers and Strange

          18       Brew Strategies, LLC have not been served with the Baker Complaint and a summons.

          19              3.      Accordingly, undersigned counsel certifies that the Removing Defendant, the only

          20       Defendant in this action who has been served with the Baker Complaint and a summons, consents to

          21       removal of the Baker Action. See 28 U.S.C. § 1446(b).

          22              4.      Removing Defendant has not pled, answered, or otherwise appeared in state court for

          23       the Baker Action.

          24              5.      Removing Defendant reserves the right to amend and/or supplement this Notice.

          25              6.      Removing Defendant expressly reserves all rights to challenge personal jurisdiction

          26       once the Baker Action is removed.

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            1                                                     JURISDICTION

            2             7.      The Baker Action is within the original jurisdiction of this Court under 28 U.S.C. §

            3      1331 because it contains claims arising under the laws of the United States. Specifically, Plaintiff

            4      putatively alleges claims against Defendants arising under Sections 5 and 17 of the Securities Act of

            5      1933, 15 U.S.C. § 77a et seq (the “Securities Act”).1

            6             8.      Because this is a civil action over which this Court has original jurisdiction, it is

            7      removable under 28 U. S. C. § 1441. 28 U.S.C. § 1441(a) provides: “[e]xcept as otherwise expressly

            8      provided by an Act of Congress, any civil action brought in a State court of which the district courts

            9      of the United States have original jurisdiction, may be removed by the defendant or the defendants, to

          10       the district court of the United States for the district and division embracing the place where such

          11       action is pending.”

          12              9.      This action is also within the original jurisdiction of this Court, and therefore

          13       removable, under 15 U.S.C. § 77v(a). 15 U.S.C. § 77v(a) provides: “[t]he district courts of the United

          14       States . . . shall have jurisdiction of offenses and violations under this subchapter [referring to the

          15       Securities Act . . . ], and, concurrent with State and Territorial courts, except as provided in section

          16       77p of this title with respect to covered class actions, of all suits in equity and actions at law brought

          17       to enforce any liability or duty created by this subchapter.”

          18              10.     Section 77p defines a covered class action as “any single lawsuit in which: (I) damages

          19       are sought on behalf of more than 50 persons or prospective class members, and questions of law or

          20       fact common to those persons . . . predominate over any questions affecting only individual persons

          21       or members; or (II) one or more named parties seek to recover damages on a representative basis on

          22       behalf of themselves and other unnamed parties similarly situated, and questions of law or fact

          23       common to those persons or members of the prospective class predominate over any questions

          24       affecting only individual persons or members . . . .” 15 U.S.C. § 77p(f)(2)(A). The Baker Complaint

          25       sets forth allegations that satisfy this definition. See Baker Complaint at ¶¶ 19-25. Therefore, the

          26
                   1
                    Complaints alleging similar claims and based on similar facts have been filed in U.S. District Courts.
          27       See Gaviria v. Dynamic Ledger Solutions, Inc., et al. (No. 6:17-cv-01959-PGB-KRS) (M. D. Fla.);
                   GGCC, LLC, v. Dynamic Ledger Solutions, Inc., et al. (No. 3:17-cv-06779-RS) (N. D. Cal.); Okusko
          28       v. Dynamic Ledger Solutions, Inc., et al. (No. 3:17-cv-06829) (N. D. Cal.).
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            1      Baker Complaint is a putative “Covered Class Action.”

            2             11.     State courts lack jurisdiction over “Covered Class Actions.” See 15 U.S.C. §77v(a);

            3      Knox v. Agria Corp. 613 F. Supp. 2d 419, 425 (S. D. N. Y. 2009) (“The exception in the jurisdictional

            4      provision of Section 22(a) exempts covered class actions raising 1933 Act claims from concurrent

            5      jurisdiction. By excluding these covered class actions from concurrent state and federal jurisdiction,

            6      federal courts alone have jurisdiction to hear them.”). Therefore state courts do not have jurisdiction

            7      over the Baker Complaint, and the Securities Act does not prohibit removal. See id. 2 (“because the

            8      anti-removal provision only applies to claims brought in a state court of competent jurisdiction, once

            9      SLUSA stripped state courts of subject matter jurisdiction over covered class actions raising 1933 Act

          10       claims, the reach of the anti-removal provision receded, leaving covered class actions raising 1933

          11       Act claims exclusively for federal courts.”).

          12              12.     This Court also has jurisdiction over the remaining claims alleged in the Baker

          13       Complaint that do not arise under the laws of the United States because such claims form part of the

          14       same case or controversy under Article III of the United States Constitution. See 28 U. S. C. § 1367.

          15              13.     Attached hereto as Exhibit A are copies of all process, pleadings, and orders served

          16       upon the Removing Defendant in the Baker Action.

          17              14.     Pursuant to 28 U.S.C. § 1446(d), the Removing Defendant will promptly file a copy of

          18       this Notice with the Clerk of the Superior Court of the State of California for the County of San

          19       Francisco, and serve a copy of this Notice on all attorneys of record.

          20                                       INTRADISTRICT ASSIGNMENT

          21              15.     Pursuant to United States District Court for the Northern District of California Civil

          22       Local Rule 3-2(c), this putative securities class action should be assigned on a district-wide basis.

          23

          24

          25       2
                     Acknowledging that U.S. District Courts have reached different conclusions on this issue (see, e.g.,
                   City of Warren Police and Fire Ret. Sys., v. Revance Therapeutics, Inc., 125 F. Supp. 3d 917 (N.D.
          26       Cal. 2015) (granting motion to remand on basis of Securities Act), the Supreme Court will address
                   this issue this term. See Cyan, Inc., et al., v. Beaver Cty. Emps. Ret. Fund, et al., 137 S.Ct. 2325
          27       (2017), cert. granted (No. 15-1439); Petition for Writ of Certiorari, Cyan, 2016 WL 3040512 (May
                   24, 2016) (question presented: “Whether state courts lack subject matter jurisdiction over covered
          28       class actions that allege only [] claims [arising under the Securities Act of 1933.”]).
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            1             WHEREFORE, pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446 and 15 U.S.C. § 77v(a)

            2      Removing Defendant removes Andrew Baker v. Dynamic Ledger Solutions, Inc., et al., (Case No.

            3      CGC-17-562144) in its entirety from the Superior Court of the State of California, County of San

            4      Francisco, to the United States District Court for the Northern District of California.

            5      Dated: November 29, 2017                       BAKER MARQUART
            6

            7
                                                                                    /s/ Brian E. Klein
            8                                                                         Brian E. Klein
            9                                                     Attorneys for Defendant
                                                                  DYNAMIC LEDGER SOLUTIONS, INC.,
          10                                                       a Delaware Corporation
          11       Dated: November 29, 2017                       COOLEY LLP
          12

          13                                                                       /s/ Patrick E. Gibbs
                                                                                     Patrick E. Gibbs
          14
                                                                  Attorneys for Defendant
          15                                                      DYNAMIC LEDGER SOLUTIONS, INC.,
                                                                   a Delaware Corporation
          16

          17                                                FILER'S ATTESTATION
          18              Pursuant to Civil Local Rule 5-1(i)(3), regarding signatures, Patrick E. Gibbs hereby attests
          19       that concurrence in the filing of this document has been obtained from all the signatories above.
          20
                   Dated: November 29, 2017                      COOLEY LLP
          21

          22
                                                                                   /s/ Patrick E. Gibbs
          23
                                                                                     Patrick E. Gibbs
          24

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            1                                             PROOF OF SERVICE
                                                              (FRCP 5)
            2

            3               I am a citizen of the United States and a resident of the State of California. I am employed

            4      in Santa Clara County, State of California, in the office of a member of the bar of this Court, at whose

            5      direction the service was made. I am over the age of eighteen years, and not a party to the within

            6      action. My business address is Cooley LLP, 3175 Hanover Street, Palo Alto, California 94304-

            7      1130. On the date set forth below I served the documents described below in the manner described

            8      below:

            9                NOTICE OF REMOVAL OF STATE COURT CIVIL ACTION
          10                       (BY U.S. MAIL) I am personally and readily familiar with the business practice of
                                 Cooley LLP for collection and processing of correspondence for mailing with the
          11                       United States Postal Service, and I caused such envelope(s) with postage thereon
          12                       fully prepaid to be placed in the United States Postal Service at Palo Alto,
                                   California.
          13                       Andrew Baker
          14                       c/o James Q. Tayler-Copeland
                                   501 W. Broadway, Suite 800
          15                       San Diego, CA 92102

          16                Executed on November 29, 2017, at Palo Alto, California.
          17

          18

          19                                                                        Brandie Giovannoni

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